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               In the United States Court of Federal Claims

                                           No. 18-927 C

ELECTRA-MED CORPORATION,
A2A INTEGRATED LOGISTICS,
INC., ZILLION SOLUTIONS, INC.,
and ALLIANT ENTERPRISES, LLC.
            Plaintiffs

       v.

THE UNITED STATES                                             JUDGMENT
          Defendant

       and

AMERICAN MEDICAL DEPOT,
MEDLINE INDUSTRIES, INC.,
and KREISERS, LLC
           Intervenors


        Pursuant to the court’s Opinion, filed September 25, 2018, denying plaintiffs’ motion for
judgment on the administrative record, denying defendant’s and intervenor’s motions to dismiss,
and granting defendant’s and intervenors’ cross-motions for judgment on the administrative
record,

       IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that judgment is
entered in favor of defendant. No costs.


                                                      Lisa L. Reyes
                                                      Clerk of Court

September 26, 2018                            By:     s/ Debra L. Samler

                                                      Deputy Clerk


NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Filing fee is $505.00.
